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                 IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                                                                                        Formatted                                            ... [7]
                             DIVISION OF ST. CROIX
                                                                                                        Formatted                                            ... [8]
 LORETTA S. BELARDO, ANGELA                                                                             Formatted                                            ... [9]
 TUITT-SMITH, BERNARD A. SMITH,                                                                         Formatted                                           ... [10]
 YVETTE ROSS-EDWARDS, AVON                              2018-CV-8                                       Formatted Table                                     ... [12]
 CANNONIER, ANASTASIA M.                                                                                Deleted: ))))))¶                                    ... [20]
 DOWARD, DARYL RICHARDS,                                CLASS ACTION
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 EVERTON BRADSHAW, RODELIQUE
                                                                                                        Formatted                                           ... [11]
 WILLIAMS-BRADSHAW, PAMELA                              JURY TRIAL DEMANDED
 GREENIDGE, and WINSTON                                                                                 Deleted Cells                                       ... [21]
 GREENIDGE, on behalf of themselves                                                                     Formatted                                           ... [22]
 and all others similarly situated,                                                                     Formatted                                           ... [23]
                                    Plaintiffs,                                                         Deleted: ¶                                          ... [24]
                                                                                                        Formatted                                           ... [25]
                       v.
                                                                                                        Deleted: ¶                                          ... [26]
 BANK OF NOVA SCOTIA,                                                                                   Formatted                                           ... [27]
 SCOTIABANK DE PUERTO RICO,                                                                             Formatted                                           ... [13]
 INC.                                                                                                   Formatted                                           ... [14]
                      Defendants.                                                                       Deleted: ¶
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                   SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                                        Formatted                                           ... [16]
       1.      Plaintiffs bring this class action on behalf of Virgin Islands homeowners who have or    Formatted                                           ... [17]
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had mortgages with the Bank of Nova Scotia (“BNS”) serviced by Scotiabank de Puerto Rico, Inc.          Formatted                                           ... [18]
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(“BNS-PR”) and who were harmed when BNS and BNS-PR charged them for, but never purchased,
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lender-placed hazard insurance.
                                                                                                        Deleted: ¶                                          ... [30]
                                      NEED FOR ACTION                                                   Formatted                                         ... [31]
                                                                                                        Deleted: ➝Plaintiffs, on behalf of themselves and all
                                                                                                                                                          ... [32]
       2.      This case involves egregious conduct on the part of BNS and BNS-PR that left             Formatted                                           ... [33]
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hundreds of homeowners in the Virgin Islands without hazard insurance when Hurricanes Irma and
                                                                                                        Deleted: ¶

Maria devastated the Territory.                                                                         Formatted                                           ... [35]
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       3.      BNS exacerbated the situation by refusing to acknowledge its failure to procure hazard   Formatted                                           ... [36]
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insurance and by engaging in a systematic misinformation campaign that left Plaintiffs and class        Formatted                                           ... [37]
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members without an accurate understanding of their insurance coverage.
                                                                                                        Formatted                                        ... [38]
                                                                                                        Deleted: coverage on their properties. Scotiabank’s
                                                                                                                                                         ... [39]
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                                                                                                        Formatted                                           ... [41]
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                                                                                                                                                         ... [44]
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                                                                                                        Deleted: it would forward their claims to the insurer
                                                                                                                                                           ... [46]
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Plaintiffs’ Second Amended Complaint                                                                       Deleted: Class Action
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                           Formatted                                            ... [48]
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        4.        The conduct of BNS and BNS-PR left Plaintiffs and class members without the              Deleted: ; 18
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resources they need to repair their homes, without a reduction in the amount of their mortgage loans,
                                                                                                           Formatted                                            ... [52]
and without accurate information regarding the status of insurance claims.                                 Formatted                                            ... [51]
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        5.        After waiting for more than a year without receiving insurance proceeds to which they    Formatted                                            ... [55]
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are entitled, Plaintiffs and class members have suffered enough.                                           Deleted: ¶
                                                                                                           Formatted                                           ... [57]
        6.        This Court must act to prevent BNS and BNS-PR from continuing their
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misinformation campaign and avoiding their responsibilities to class members.                              Formatted                                            ... [58]
                                                                                                           Deleted: borrowers’ homes, the ¶                     ... [59]
        7.        Plaintiffs, on behalf of themselves and similarly situated borrowers, seek recovery of   Formatted                                         ... [60]
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all damages and relief, equitable and legal, as well as attorneys’ fees and costs, as permitted by         Formatted                                            ... [62]
                                                                                                           Deleted: damages. ¶                                  ... [63]
applicable law.
                                                                                                           Formatted                                            ... [64]
                                                 PARTIES                                                   Formatted                                            ... [65]
                                                                                                           Deleted: bring ¶                                     ... [66]
        8.        Plaintiff Loretta S. Belardo is a citizen of St. Croix, Virgin Islands.                  Formatted                                          ... [67]
                                                                                                           Deleted: contract, and fraud arising out of Scotiabank’s
                                                                                                                                                              ... [68]
        9.        Plaintiff Angela Tuitt-Smith is a citizen of St. Croix, Virgin Islands.
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        10.       Plaintiff Bernard A. Smith is a citizen of St. Croix, Virgin Islands.
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        11.       Plaintiff Yvette Ross-Edwards is a citizen of St. Croix, Virgin Islands.                 Formatted                                            ... [72]
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        12.       Plaintiff Avon Cannonier is a citizen of St. Thomas, Virgin Islands.                     Deleted: 3.➝
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        13.       Plaintiff Anastasia M. Doward is a citizen of St. Croix, Virgin Islands.
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        14.       Plaintiff Daryl Richards is a citizen of St. Croix, Virgin Islands.                      Deleted:
                                                                                                           Formatted                                            ... [75]
        15.       Plaintiff Everton Bradshaw is a resident of St. Croix, Virgin Islands.                   Deleted: 4.➝
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        16.       Plaintiff Rodelique Williams-Bradshaw is a citizen of St. Croix, Virgin Islands.         Deleted: 5. ➝
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        17.       Plaintiff Winston Greenidge is a citizen of St. Croix, Virgin Islands.
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        18.       Plaintiff Pamela Greenidge is a citizen of St. Croix, Virgin Islands.                    Formatted                                            ... [78]
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        19.       Defendant Bank of Nova Scotia is a multinational bank. BNS is incorporated in            Formatted                                            ... [79]
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Canada, with its principal place of business in Toronto, Ontario.                                          Formatted                                            ... [80]
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                                                Page 2 of 28
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Plaintiffs’ Second Amended Complaint                                                                        Formatted                  ... [98]
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                            Formatted                  ... [99]
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        20.      Defendant Scotiabank de Puerto Rico, Inc. is incorporated in Puerto Rico, with its         Deleted: ; 18
                                                                                                            Formatted                 ... [101]
principal place of business in Puerto Rico.
                                                                                                            Formatted                 ... [103]
                                  JURISDICTION AND VENUE                                                    Formatted                 ... [102]
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        21.      This is an action under the Real Estate Settlement Procedures Act (“RESPA”), 12            Deleted: ¶
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U.S.C. § 2605(m). This Court therefore has subject matter jurisdiction under 28 U.S.C. § 1331.              Formatted                 ... [107]
                                                                                                            Deleted: ¶                ... [108]
        22.      The Court has supplemental jurisdiction over Plaintiffs’ territorial law claims under 28
                                                                                                            Formatted                 ... [109]
U.S.C. § 1367.                                                                                              Formatted                 ... [110]
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        23.      The Court has jurisdiction pursuant to 28 U.S.C. § 1332 because this action is a class     Formatted                 ... [111]
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action within the meaning of 28 U.S.C. § 1332(d) as there are over 100 members in the class, diversity      Formatted                 ... [112]
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exists and the amount in controversy of all the class claims exceeds $5 million, exclusive of costs and
                                                                                                            Formatted                 ... [113]
interest.                                                                                                   Deleted: ¶                ... [114]
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        24.      The Court has personal jurisdiction over BNS because the corporation regularly             Deleted: ¶                ... [116]
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conducts business in the Virgin Islands and has sufficient minimum contacts with the Virgin Islands.
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        25.      The Court has personal jurisdiction over BNS-PR because the corporation regularly
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conducts business in the Virgin Islands, services loans issued to properties located in the Virgin          Formatted                 ... [119]
                                                                                                            Deleted: ¶                ... [120]
Islands, and has sufficient minimum contacts with the Virgin Islands.                                       Formatted                 ... [121]
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        26.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a substantial part
                                                                                                            Formatted                 ... [122]
of the events or omissions giving rise to this action occurred in this judicial district.                   Formatted                 ... [123]
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                                     FACTUAL ALLEGATIONS                                                    Formatted                 ... [124]
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A.      The BNS Mortgage Agreement                                                                          Formatted                 ... [126]
                                                                                                            Formatted                 ... [127]
        27.      BNS holds thousands of mortgages throughout the Virgin Islands, and issues
                                                                                                            Deleted: and services

residential home mortgages on St. Croix, St. Thomas, and St. John.                                          Formatted                 ... [128]
                                                                                                            Deleted: ¶
        28.      BNS and its borrowers enter into a standard mortgage agreement (the “BNS Mortgage          Formatted                 ... [129]
                                                                                                            Deleted: 15.➝Scotiabank
Agreement”) prepared by BNS. All of the borrowers’ agreements contain substantially the same terms          Formatted                 ... [130]
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                                               Page 3 of 28
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Plaintiffs’ Second Amended Complaint                                                                       Formatted                                           ... [133]
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                           Deleted: Class Action
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and conditions. A true and correct copy of the BNS Mortgage Agreement is attached hereto as Exhibit
                                                                                                           Deleted: ; 18
                                                                                                           Formatted                                           ... [136]
“A.”
                                                                                                           Formatted                                           ... [138]
        29.     The BNS Mortgage Agreement requires the borrower to maintain hazard insurance              Formatted                                           ... [137]
                                                                                                           Deleted: Page 4
on the property securing the mortgage.                                                                     Deleted: ¶
                                                                                                           Formatted                                           ... [141]
        30.     If a borrower’s hazard insurance policy lapses, the BNS Mortgage Agreement provides
                                                                                                           Deleted:

that BNS “may obtain insurance coverage, at Lender’s option and Borrower’s expense.” Exhibit A,            Formatted                                           ... [142]
                                                                                                           Deleted: Scotiabank’s standard mortgage agreement
p. 7. The insurance referred to in this provision is often called “lender-placed insurance,” and is also   Formatted                                           ... [143]
                                                                                                           Deleted: ¶
known as creditor-placed or force-placed insurance.                                                        Formatted                                           ... [144]
                                                                                                           Deleted: 1.
        31.     The BNS Mortgage Agreement only permits BNS to collect premiums for lender-
                                                                                                           Formatted                                           ... [145]
placed insurance on its borrowers’ properties if, and only if, BNS uses the premiums to obtain             Deleted: 16.➝Scotiabank’s mortgage agreement
                                                                                                           Formatted                                           ... [146]
insurance coverage for the properties.                                                                     Deleted: ¶
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        32.     The BNS Mortgage agreement also contains the following provisions addressing the           Deleted:
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use of insurance proceeds in the event that the property becomes damaged:
                                                                                                           Deleted: 17.➝
        Unless Lender and Borrower otherwise agree in writing, any insurance proceeds,                     Formatted                                         ... [149]
        whether or not the underlying insurance was required by the Lender, shall be applied               Deleted: Scotiabank has the right to “force-place”...¶ [150]
        to restoration or repair of the Property, if the restoration or repair is economically             Formatted                                           ... [151]
        feasible and Lender’s security is not lessened.                                                    Deleted: ,
                                                                                                           Formatted                                           ... [152]
                                                   ...
                                                                                                           Deleted: lender
        If the restoration or repair is not economically feasible or Lender’s security would be            Formatted                                           ... [153]
        lessened, the insurance proceeds shall be applied to the sums secured by this                      Deleted: , is an
        Security Instrument, whether or not then due, with the excess, if any, paid to                     Formatted                                           ... [154]
        Borrower.                                                                                          Deleted: insurance policy placed by a lender or loan
                                                                                                                                                             ... [155]
                                                                                                           Formatted                                           ... [156]
Exhibit A, p. 8 (emphasis added).
                                                                                                           Deleted: provides that

        33.     Thus, if the borrower’s property suffers a loss, the BNS Mortgage Agreement requires       Formatted                                           ... [157]
                                                                                                           Formatted                                           ... [158]
BNS to either: a) apply any insurance proceeds to restoration or repair of the property; or b) in the        Deleted: will
                                                                                                           Formatted                                         ... [159]
event that restoration or repair is not economically feasible or BNS’s security would be lessened, apply   Deleted: used to repair the borrower’s property if...the
                                                                                                                                                                  [160]
                                                                                                           Formatted                                           ... [139]
the insurance proceeds to the sums secured by the mortgage.
                                                                                                           Formatted                                           ... [140]


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B.      BNS charged Plaintiffs for, but never obtained, insurance.
                                                                                                        Formatted                                         ... [166]
        34.     At some point prior to August 1, 2017, BNS began collecting premiums for lender-        Formatted                                         ... [165]
                                                                                                        Deleted: Page 5
placed insurance from Plaintiffs and class members.                                                     Formatted                                         ... [169]
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        35.     By collecting premiums for lender-placed insurance from Plaintiffs and class members,   Deleted: ¶
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BNS was contractually obligated to use the premiums to obtain insurance coverage for the properties.
                                                                                                        Formatted                                         ... [171]
        36.     BNS does not actually purchase lender-placed insurance for the borrower. Rather,        Deleted: Scotiabank
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BNS has a master policy already in place and adds each borrower’s property to the master policy.        Deleted: the
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        37.     Before August 1, 2017, BNS had a master policy (the “ASIC Policy”) through              Deleted: ¶
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American Security Insurance Company (“ASIC”). BNS obtained lender-placed insurance coverage
                                                                                                        Deleted:
for its Virgin Islands mortgages through the ASIC Policy.                                               Formatted                                         ... [175]
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        38.     Effective August 1, 2017, BNS changed its loan servicer for its Virgin Islands          Deleted: Scotiabank obtained ¶                    ... [177]
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mortgages from New Jersey-based Cenlar Corporation (“Cenlar”) to BNS-PR.
                                                                                                        Deleted: ¶
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        39.     When BNS switched loan servicers on August 1, 2017, the ASIC Policy terminated.
                                                                                                        Deleted: Co. (“ASIC”).
        40.     When the ASIC Policy terminated, Plaintiffs’ and class members’ properties were left    Formatted                                         ... [180]
                                                                                                        Deleted: 20.➝
without hazard insurance coverage.                                                                      Formatted                                         ... [181]
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        41.     BNS and BNS-PR were both responsible for ensuring that Plaintiffs’ and class
                                                                                                        Formatted                                         ... [182]
members’ properties were covered under a master insurance policy issued to BNS-PR and BNS.              Deleted: ¶
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        42.     Even though neither BNS nor BNS-PR purchased lender-placed insurance coverage           Deleted: Corp.
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for Plaintiffs’ and class members’ properties after August 1, 2017, BNS and BNS-PR continued to         Deleted: Scotiabank-Puerto Rico.
                                                                                                        Formatted                                         ... [185]
charge Plaintiffs and class members–or had already charged them–premiums for lender-placed
                                                                                                        Deleted: 21.➝
insurance coverage.                                                                                     Formatted                                         ... [186]
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                                                                                                        Deleted: its force-placed insurance ¶             ... [188]
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                                                                                                        Deleted: covering its Virgin Islands properties
                                                                                                        Formatted                                         ... [190]
                                               Page 5 of 28
                                                                                                        Deleted: Scotiabank apparently
                                                                                                        Formatted                                       ... [191]
                                                                                                        Deleted: intended to obtain new force- placed coverage
                                                                                                                                                        ... [192]
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Plaintiffs’ Second Amended Complaint                                                                     Formatted                           ... [203]
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C.      Despite paying premiums for lender-placed insurance, Plaintiffs’ properties were
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        insured when the Hurricanes struck.
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        43.      On September 6, 2017, Hurricane Irma struck the Virgin Islands, and Hurricane Maria     Deleted: Page 6
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struck the Virgin Islands on September 20, 2017, causing widespread destruction.                         Formatted                           ... [212]
                                                                                                         Deleted: in September 2017, ¶       ... [213]
        44.      After Hurricanes Irma and Maria struck the Virgin Islands, BNS’s borrowers who had
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                                                                                                         Deleted: with force
been paying premiums for lender-placed insurance and whose properties were damaged in the
                                                                                                         Formatted                           ... [215]
hurricanes contacted BNS to make claims under BNS’s lender-placed policy.                                Deleted: ¶
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        45.      BNS directed its borrowers to provide it with damage estimates and stated that it       Deleted: Scotiabank
                                                                                                         Formatted                           ... [217]
would forward the estimates to its insurer. These statements were misleading because the Virgin
                                                                                                         Deleted: Scotiabank’s force

Islands borrowers were not enrolled under BNS’s forced placed policy.                                    Formatted                           ... [218]
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        46.      When the borrowers later inquired about the status of their claims, BNS continued to    Formatted                           ... [219]
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falsely represent that the borrowers were insured, assuring them that their claims were being            Formatted                           ... [220]
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processed. And when borrowers requested insurance certificates for the lender-placed coverage, BNS
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refused to comply. Borrowers had received certificates under the expired ASIC Policy, but no             Deleted: ¶
                                                                                                         Formatted                           ... [222]
certificates were provided for any active policy.                                                        Deleted:
                                                                                                         Formatted                           ... [223]
        47.      On January 30, 2018, BNS sent a form letter to its Virgin Islands borrowers who had     Deleted:
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paid premiums for lender-placed insurance. A true and correct copy of the January 30, 2018 form
                                                                                                         Deleted: ¶
letter is attached hereto as Exhibit “B.”                                                                Formatted                           ... [225]
                                                                                                         Deleted: Scotiabank’s ¶
        48.      The January 30, 2018 form letter contains the following statement:                      Formatted                           ... [226]
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        Because we did not have evidence that you had purchased or renewed hazard
                                                                                                         Formatted                           ... [227]
        insurance on the property listed above, effective August 1, 2017, we have insured your
                                                                                                         Deleted: 25.➝
        property under our master policy, and we have added the related monthly premium
        cost to your mortgage loan escrow account.                                                       Formatted                           ... [228]
                                                                                                         Deleted: Scotiabank ¶
See Exhibit B.                                                                                           Formatted                           ... [229]
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        49.      This statement from the January 30, 2018 form letter is misleading because it advises   Formatted                           ... [230]
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                                               Page 6 of 28
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                                                                                                         Deleted: provide them. Borrower’s
                                                                                                         Formatted                           ... [235]
                                                                                                         Deleted: ¶
                                                                                                         Formatted                           ... [236]
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Plaintiffs’ Second Amended Complaint                                                                            Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                                Deleted: Class Action
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that the Virgin Islands borrowers were covered under BNS’s master policy effective August 1, 2017               3" + 6"
                                                                                                                Formatted: Font: Garamond, 12 pt, Not Bold
when, in fact, no such coverage was available to the Virgin Islands borrowers as of August 1, 2017              Formatted: Font: Garamond, 12 pt, Not Bold
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and the Virgin Islands borrowers were not covered under BNS’s master policy when Hurricanes Irma
                                                                                                                Formatted: Font: Garamond, 12 pt

and Maria hit the Virgin Islands.                                                                               Formatted: Font: Garamond, 12 pt, Not Italic
                                                                                                                Formatted: Header, Tab stops: Not at 3" + 6"
          50.   On February 21, 2018, BNS sent a form letter to its Virgin Islands borrowers with               Formatted: Font: Garamond, 12 pt, Not Italic
                                                                                                                Deleted: Page 7
lender-placed insurance. A true and correct copy of the February 21, 2018 form letter is attached               Formatted: Font: Garamond
                                                                                                                Deleted: ¶
hereto as Exhibit “C.”                                                                                          a force-placed insurance
                                                                                                                Formatted: Font: Garamond
          51.   The February 21, 2018 form letter states that BNS was making efforts to process
                                                                                                                Deleted: . This statement

lender-placed claims. The letter also advises that BNS had remitted the claim to its insurance agent            Formatted: Font: Garamond
                                                                                                                Deleted: misleading ¶                              ... [244]
and states: “Once the insurance company completes its review, they may settle the claim, have an                Formatted: Font: Garamond
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adjuster visit your property for an inspection or request additional information . . . .”                       Formatted: Font: Garamond
                                                                                                                Deleted: Scotiabank’s force-placed policy retroactively,
                                                                                                                                                                 ... [245]
          52.    The February 21, 2018 letter is false and misleading in that it fails to disclose that there
                                                                                                                Formatted: Font: Garamond

was no lender-placed policy covering the borrowers’ properties at the time when the Hurricanes                  Deleted: Scotiabank
                                                                                                                Formatted: Font: Garamond
struck.                                                                                                         Formatted: Font: Garamond
                                                                                                                Deleted: borrowers with force-placed insurance.
D.        The Integrand Lawsuit                                                                                 Formatted: Font: Garamond
                                                                                                                Formatted: Font: Garamond
          53.   On March 19, 2018, Integrand Assurance Company (“Integrand”) filed suit against
                                                                                                                Deleted: Scotiabank
BNS and BNS-PR in the Superior Court of Puerto Rico in an action entitled Integrand Assurance Co. v.            Formatted: Font: Garamond
                                                                                                                Deleted: ¶
Scotiabank of Puerto Rico, Inc., and Bank of Nova Scotia (the “Integrand lawsuit”), Civ. No. SJ2018CV01442      Formatted: Font: Garamond
                                                                                                                Deleted: force
(P.R. Super. Ct. Mar. 19, 2018). A true and correct copy of the certified translation of the First              Formatted: Font: Garamond
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Amended Complaint, filed April 19, 2018, is attached hereto as Exhibit “D.”
                                                                                                                Formatted: Font: Garamond
          54.   The Integrand lawsuit is a declaratory judgment action wherein Integrand seeks a                Formatted: Font: Garamond
                                                                                                                Deleted: disclose that there is no force-placed policy
                                                                                                                                                                  ... [247]
declaration regarding the extent of available coverage under an insurance policy (the “Integrand

Policy”) that it issued to BNS-PR for the policy period November 30, 2016 to November 30, 2017.
                                                                                                                Formatted: Font: Georgia
          55.   According to the Integrand First Amended Complaint, the Integrand Policy was issued
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Plaintiffs’ Second Amended Complaint                                                                            Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                                Deleted: Class Action
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to BNS-PR and BNS as named insureds and was initially negotiated to provide BNS and BNS-PR                      Formatted: Font: Garamond, 12 pt, Not Bold
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with lender-placed coverage for a portfolio of approximately eight lender-placed commercial properties          3" + 6"
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in the Virgin Islands with an estimated value of $1,394,850. See Exhibit D, at ¶¶ 28–29.
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        56.     However, “after the passage of Hurricanes Irma and Maria, [BNS-PR] illegally and                Formatted: Font: Garamond, 12 pt, Not Italic
                                                                                                                Formatted: Font: Garamond, 12 pt, Not Italic
unilaterally added a new portfolio for a value of [$]67.6 million for the month of September 2017 in            Formatted: Header, Tab stops: Not at 3" + 6"
                                                                                                                Deleted: Page 8
the Virgin Islands, when the estimated and reported value before the passage of the hurricanes for

Force-placed of the Virgin Islands was always approximately around [$]1.3 million (amount estimated

when the contract was negotiated).” Exhibit D, ¶ 33.

        57.     The Integrand First Amended Complaint alleges that the increase in BNS’s Virgin

Islands lender-placed portfolio in the aftermath of Hurricanes Irma and Maria is attributable to either

BNS’s or BNS-PR’s unilateral cancellation of “another portfolio of approximately [$]67.6 million that
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they had with another(other) insurance company(companies) that was(were) not Integrand.”                        Formatted: Font: Garamond
                                                                                                                Deleted: ¶
Integrand alleges that this portfolio was administered by Cenlar on behalf of BNS. Exhibit D, ¶ 35.             Formatted: Font: Garamond
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        58.     The Integrand lawsuit confirms that there is a dispute regarding the availability of            Formatted: List Paragraph, Indent: Left: 0", First line:
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coverage for Plaintiffs’ and class members’ claims and that, as a result, most Plaintiffs and class             Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
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members did not receive sufficient insurance money to either repair their homes or pay down their               Deleted: an
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mortgages.                                                                                                      Deleted: plaintiffs’ and the class members’
                                                                                                                Formatted: Font: Garamond
E.      BNS has continued to misrepresent to Plaintiffs and class members its failure to                        Deleted: ¶
        maintain lender-placed coverage.
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        59.     Prior to the filing of this lawsuit, no adjusters had inspected any of Plaintiffs’ properties   Deleted: Scotiabank
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in connection with damage from Hurricanes Irma and Maria.                                                       Formatted: Font: Garamond
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        60.     After the original complaint was filed in this case, BNS hired its own adjusters to             force
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inspect and prepare estimates for Plaintiffs’ homes. The fact that BNS had to hire its own adjusters            Deleted: insurer’s adjusters
                                                                                                                Formatted: Font: Garamond
instead of relying on the adjusters of its lender-placed insurer is further evidence that the Virgin Islands
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properties were not covered by insurance at the time Hurricanes Irma and Maria made landfall.              Deleted: ; 18
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        61.     The adjuster inspections did not comport with industry standards for the inspection
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of residential properties after natural disasters, particularly hurricanes.                                Formatted                                          ... [252]
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        62.     The adjusters relied on erroneous assumptions regarding material and labor costs in        Deleted: ¶
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the Virgin Islands, particularly in the wake of a natural disaster. These erroneous assumptions resulted   Deleted: of the hurricanes. No adjusters inspected
                                                                                                           Formatted                                         ... [257]
in the adjusters wildly undervaluing repair costs.
                                                                                                           Deleted: plaintiffs’ and class members’ properties...until
                                                                                                                                                                 [258]
        63.     In addition, BNS provided its adjusters with the ASIC policy to use in adjusting the       Formatted                                          ... [259]
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Virgin Islands claims. This is further evidence that the Virgin Islands properties were not covered by     Deleted: Scotiabank
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insurance at the time of the Hurricanes, as the ASIC Policy had expired on August 1, 2017.                 Deleted: expired
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        64.     BNS has perpetrated a cover-up and charade for more than one year— and continues
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to do so.                                                                                                  Formatted                                          ... [263]
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        65.     In reliance on BNS’s false statements and omissions, Virgin Islands borrowers delayed      Formatted                                        ... [264]
                                                                                                           Deleted: after the ASIC policy expired on August ...
                                                                                                                                                            1, ¶[265]
taking legal action against BNS and either did not attempt to obtain other sources of funds, such as
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applying for government disaster relief assistance, or could not obtain government assistance because
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of requirements that they first exhaust their homeowner’s insurance benefits.                              Deleted: 28.➝Scotiabank
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        66.     Plaintiffs also refrained from making repairs until they learned the extent of coverage    Deleted: almost six months
                                                                                                           Formatted                                          ... [269]
they would receive for their claims based on BNS’s repeated representations that Plaintiffs and class
                                                                                                           Deleted: ¶

members were covered.                                                                                      Formatted                                          ... [270]
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        67.     As of the time of this filing, nearly fourteen months since Hurricanes Irma and Maria      Formatted                                          ... [271]
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made landfall on the Virgin Islands, most Plaintiffs and class members have not received the necessary     Formatted                                          ... [272]
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insurance proceeds from BNS’s and BNS-PR’s lender-placed insurer to either a) repair their homes
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or b) apply to the sums secured by their mortgages.                                                        Deleted: Scotiabank
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        68.     Despite BNS’s and BNS-PR’s egregious failures to maintain insurance coverage for           Deleted: ¶
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Plaintiffs’ properties, BNS and BNS-PR continued to charge Plaintiffs and class members premiums           Deleted: ¶
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for lender-placed insurance for months after the Hurricanes, and BNS has not reduced the total loan   Deleted: ; 18
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amount for most Plaintiffs and class members.
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        69.     As a result of BNS’s failure to perform its statutory and contractual obligation to   Formatted                                     ... [284]
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maintain lender-placed coverage for its borrowers who paid for it, the borrowers have suffered        Deleted: Scotiabank’s
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damages, including the cost of repairs to their homes, the loss of use of their homes, payment for    Deleted: ¶
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mortgages that should have been extinguished, emotional distress, annoyance, and inconvenience.
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                                   CLASS REPRESENTATIVES                                              Formatted                                     ... [289]
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A.      Plaintiff Loretta Belardo                                                                     Formatted                                     ... [292]
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        70.     Loretta S. Belardo owns a home on St. Croix at 246 Estate Campo Rico. She has a       Formatted                                     ... [293]
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mortgage with BNS secured by her property.
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        71.     Belardo entered into a mortgage agreement with BNS containing language found in       Formatted                                     ... [294]
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the BNS Mortgage Agreement when she received her home loan.                                           Deleted:
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        72.     Belardo paid premiums to BNS and BNS-PR for lender-placed insurance for her
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property, and believed that her property was covered under BNS’ and BNS-PR’s lender-placed
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insurance policy.                                                                                     Deleted: 31.➝
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        73.     BNS continued to charge Belardo for lender-placed insurance after August 1, 2017,     Deleted:
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even though her property was no longer covered after that date.
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        74.     Belardo’s home was damaged by Hurricane Maria. Belardo promptly notified BNS of       Formatted                                     ... [302]
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the damage and asked BNS to submit a claim to its lender-placed insurer.                              Formatted                                     ... [303]
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        75.     During the first week of November 2017, Patricia Clendenen, a BNS manager, told       Formatted                                     ... [304]
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Belardo she had lender-placed insurance and that she should submit an estimate and photos to BNS.
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        76.     When Belardo later inquired about the status of her claim, BNS assured Belardo that   Deleted: Scotiabank’s standard
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her claim was being processed. That statement was false.                                              Deleted: ¶
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        77.     BNS required Belardo to make mortgage payments for months after the Hurricanes        Deleted: 33.➝Belardo’s property was insured
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despite the fact that the mortgage should have been extinguished.                                    Deleted: ; 18
                                                                                                     Formatted                        ... [338]
B.      Plaintiffs Angela Tuitt-Smith and Bernard A. Smith
                                                                                                     Formatted                        ... [340]
        78.     Angela Tuitt-Smith and Bernard A. Smith own a home on St. Croix at 66-B Mars Hill,   Formatted                        ... [339]
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Frederiksted. They have a mortgage with BNS secured by their property.                               Formatted                        ... [343]
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        79.     The Smiths entered into a mortgage agreement with BNS containing language found
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                                                                                                     Deleted: proceeds. ¶
in the BNS Mortgage Agreement when they received their home loan.
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        80.     The Smiths paid premiums to BNS and BNS-PR for lender-placed insurance for their     Deleted: 38.➝
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property, and believed that their property was covered under BNS’ and BNS-PR’S lender-placed         Deleted: ¶
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insurance policy. BNS continued to charge the Smiths for lender-placed insurance after August 1.
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2017, even though their property was no longer covered after that date.                              Formatted                        ... [348]
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        81.     The Smiths’ home was damaged in Hurricane Maria.                                     Formatted                        ... [349]
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        82.     On November 2, 2017, the Smiths called BNS’s St. Thomas branch to make an            Formatted                        ... [350]
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insurance claim and spoke with Ms. Bertrand. Bertrand told the Smiths that they had lender-placed
                                                                                                     Formatted                        ... [351]
insurance coverage and that they should submit an estimate. The Smiths submitted an estimate but     Deleted: 39.➝
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did not hear back from BNS.                                                                          Formatted                        ... [352]
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        83.     In a letter dated November 13, 2017, BNS informed the Smiths that their property     Deleted: ¶
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was insured by Marsh Saldana. The letter identifies Marsh Saldana as an insurance carrier, not an
                                                                                                     Deleted: 40.➝Smiths’
insurance broker. When the Smiths contacted Marsh Saldana, they were told they were not insured. A   Formatted                        ... [355]
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true and correct copy of the November 13, 2017 letter is attached hereto as Exhibit “E.”             Formatted                        ... [356]
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        84.     The Smiths cannot afford to repair the damage to their home without the insurance
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proceeds.                                                                                            Deleted: ¶                       ... [358]
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C.      Plaintiff Yvette Ross-Edwards                                                                Deleted: force
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        85.     Yvette Ross-Edwards owns a home on St. Croix at 16B Estate Whim. She has a           Deleted: ¶
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mortgage with BNS secured by her property.
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        86.     Ross-Edwards entered into a mortgage agreement with BNS containing language         Deleted: ; 18
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found in the BNS Mortgage Agreement when she obtained her home loan.
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        87.     Ross-Edwards paid premiums to BNS and BNS-PR for lender-placed insurance for        Formatted                          ... [397]
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her property, and believed that her property was covered under BNS’ and BNS-PR’s lender-placed      Deleted: 46.➝
                                                                                                    Deleted: Scotiabank’s standard
insurance policy.                                                                                   Formatted                          ... [401]
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        88.     Ross-Edwards has paid premiums to BNS and BNS-PR for lender-placed insurance
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between August 1, 2017 and present.                                                                 Formatted                          ... [403]
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        89.     Ross-Edwards’ home was damaged by Hurricane Maria. Ross-Edwards promptly            Formatted                          ... [404]
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notified BNS of the damage and asked BNS to submit a claim to its lender-placed insurer.            Formatted                          ... [405]
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        90.     BNS informed Ross-Edwards that it would process her claim and asked her for an
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estimate of her damages. BNS failed to disclose to Ross-Edwards that there was no lender-placed     Deleted: insured
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insurance covering her property.                                                                    Deleted: Scotiabank’s force
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        91.     Ross-Edwards cannot afford to repair the hurricane damage to her home without the
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insurance proceeds.
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D.      Plaintiff Avon Cannonier                                                                    Formatted                          ... [410]
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        92.     Avon Cannonier owns a home on St. Thomas at 14-45 Estate Frenchman’s Bay. She       Deleted: Scotiabank
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has a mortgage with BNS secured by her property.
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        93.     Cannonier entered into a mortgage agreement with BNS containing language found in   Formatted                          ... [413]
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the BNS Mortgage Agreement when she received her home loan.                                         Formatted                          ... [415]
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        94.     Cannonier paid premiums to BNS and BNS-PR for lender-placed insurance for her       Formatted                          ... [416]
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property, and believed that her property was covered under BNS’ and BNS-PR’s lender-placed
                                                                                                    Formatted                          ... [417]
insurance policy.                                                                                   Deleted: ¶
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        95.     Cannonier has paid premiums to BNS and BNS-PR for the insurance between August      Deleted: Scotiabank
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1, 2017 and present.                                                                                Deleted: Scotiabank
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        96.     Cannonier’s home was damaged by Hurricane Irma. She called BNS on September 18,       Deleted: ; 18
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2017 to make an insurance claim. A BNS representative told her she had lender-placed insurance with
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ASIC. Cannonier contacted ASIC on October 2, 2017 and filed a claim.                                  Formatted               ... [451]
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        97.     On October 30, 2017, ASIC told Cannonier that her property was insured by Marsh       Deleted: 54.➝
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Saldana, not ASIC. Cannonier then contacted Marsh Saldana and submitted a damage estimate and         Formatted               ... [456]
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photos. Marsh Saldana later informed Cannonier that her property was not insured.
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        98.     Cannonier cannot afford to repair the hurricane damage to her home without the        Deleted: ¶
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insurance proceeds.                                                                                   Formatted               ... [458]
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E.      Plaintiff Anastasia Doward                                                                    Formatted               ... [459]
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        99.     Anastasia Doward owns a home on St. Croix at 32 EB Whim Estate. She has a
                                                                                                      Formatted               ... [460]
mortgage with BNS secured by her property.                                                            Deleted: force
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        100.    Doward entered into a mortgage agreement with BNS containing language found in        Deleted: She
                                                                                                      Deleted: Oct
the BNS Mortgage Agreement when she received her home loan.
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        101.    Doward paid premiums to BNS and BNS-PR for lender-placed insurance for her
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property, and believed that her property was covered under BNS’ and BNS-PR’s lender-placed            Formatted               ... [464]
                                                                                                      Deleted:
insurance policy.                                                                                     Formatted               ... [465]
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        102.    BNS and BNS-PR continued to charge Doward for lender-placed insurance after
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August 1. 2017, even though her property was no longer covered after that date.                       Deleted: Oct
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        103.    Doward’s home was damaged by Hurricane Maria. Doward promptly notified BNS of         Deleted: ¶
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the damage and asked BNS to submit a claim to its lender-placed insurer.                              Deleted:
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        104.    BNS told Doward to submit an estimate and photos and it would process her claim.
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        105.    When Doward later inquired about the status of her claim, BNS assured Doward that     Formatted               ... [470]
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her claim was being processed. That statement was false.                                              Formatted               ... [471]
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        106.    Doward cannot afford to repair the damage to her home without the insurance           Formatted               ... [472]
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proceeds.                                                                                              Deleted: ; 18
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F.      Plaintiff Daryl Richards
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        107.    Daryl Richards owns a home on St. Croix at 40 Estate La Grange. He has a mortgage      Formatted                                     ... [513]
                                                                                                       Deleted: Page 14
with BNS secured by his property.                                                                      Deleted: ¶
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        108.    Richards entered into a mortgage agreement with BNS containing language found in       Deleted:
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the BNS Mortgage Agreement when he received his home loan.
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        109.    Richards paid premiums to BNS and BNS-PR for lender-placed insurance for his           Deleted: 64.➝
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property, and believed that his property was covered under BNS’ and BNS-PR’s lender-placed             Deleted:
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insurance policy.                                                                                      Deleted: ¶
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        110.    BNS and BNS-PR continued to charge Richards for lender-placed insurance after
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August 1, 2017, even though his property was no longer covered after that date.                        Formatted                                     ... [523]
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        111.    Richards’ home was damaged by Hurricane Maria. Richards promptly notified BNS of       Formatted                                     ... [524]
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the damage and asked BNS to submit a claim to its lender-placed insurer.
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        112.    During the last week of October 2017, Patricia Clendenen, a BNS manager, told
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Richards that his property was covered by a lender-placed insurance policy and that he should submit   Deleted: ¶
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an estimate and photos to BNS.                                                                         Deleted:
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        113.    When Richards later inquired about the status of his claim, BNS stalled, assuring
                                                                                                       Deleted: 66.➝Richard’s property was insured

Richards that his claim was being processed. That statement was false, as there was no insurance       Formatted                                     ... [529]
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covering his property.                                                                                 Formatted                                     ... [530]
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        114.    Richards cannot afford to repair the damage to his home without the insurance          Formatted                                     ... [531]
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proceeds.
                                                                                                       Formatted                                     ... [532]
G.      Plaintiffs Everton Bradshaw and Rodelique Williams-Bradshaw                                    Deleted: force
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        115.    Everton Bradshaw and Rodelique Williams-Bradshaw own a home on St. Croix at 146        Deleted: . ¶
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Mary’s Fancy. They have a mortgage with BNS secured by their property.                                 Deleted:
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Plaintiffs’ Second Amended Complaint                                                                  Deleted: Class Action
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        116.    The Bradshaws entered into a mortgage agreement with BNS containing language          Deleted: ; 18
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found in the BNS Mortgage Agreement when they received their home loan.
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        117.    The Bradshaws paid premiums to BNS and BNS-PR for lender-placed insurance for         Formatted                        ... [567]
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their property, and believed that their property was covered under BNS’s and BNS-PR’s lender-placed   Deleted: ¶                       ... [571]
                                                                                                      Deleted: Bradshaw’s
insurance policy.                                                                                     Formatted                        ... [573]
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        118.    BNS and BNS-PR continued to charge the Bradshaws for lender-placed insurance
                                                                                                      Formatted                        ... [572]
after August 1, 2017, even though their property was no longer covered after that date.               Formatted                        ... [574]
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        119.    The Bradshaws’ home was damaged by Hurricane Maria. The Bradshaws promptly            Formatted                        ... [576]
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notified BNS of the damage and asked BNS to submit a claim to its lender-placed insurer.              Formatted                        ... [577]
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        120.    BNS told the Bradshaws to submit an estimate and photos, and that it would process
                                                                                                      Formatted                        ... [579]
their claim.                                                                                          Deleted: Bradshaw’s
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        121.    When the Bradshaws later inquired about the status of their claim, BNS assured the    Deleted: insured
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Bradshaws that their claim was being processed. That statement was false, as there was no insurance
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covering the property.
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        122.    The Bradshaws cannot afford to repair the damage to their home without the            Formatted                        ... [584]
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insurance proceeds.                                                                                   Formatted                        ... [585]
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H.      Plaintiffs Pamela Greenidge and Winston Greenidge
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        123.    Winston and Pamela Greenidge own a home on St. Croix at 28 Mary’s Fancy. They         Formatted                        ... [587]
                                                                                                      Deleted: ¶                       ... [588]
have a mortgage with BNS secured by their property.                                                   Formatted                        ... [589]
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        124.    The Greenidges entered into a mortgage agreement with BNS containing language         Formatted                        ... [591]
                                                                                                      Deleted: Bradshaw’s
found in the BNS Mortgage Agreement when they received their home loan.
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        125.    The Greenidges paid premiums to BNS and BNS-PR for lender-placed insurance for        Deleted: ¶                       ... [593]
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their property, and believed that their property was covered under BNS’s and BNS-PR’s lender-placed   Deleted: Scotiabank
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insurance policy.                                                                                     Deleted: Scotiabank
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Plaintiffs’ Second Amended Complaint                                                                         Formatted                                       ... [633]
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                             Deleted: Class Action
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        126.    BNS continued to charge the Greenidges for lender-placed insurance after August 1,           Deleted: ; 18
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2017, even though their property was no longer covered after that date.
                                                                                                             Formatted                                       ... [638]
        127.    The Greenidges’ home was damaged by Hurricane Maria. The Greenidges promptly                 Formatted                                       ... [637]
                                                                                                             Deleted: Page 16
notified BNS of the damage and asked BNS to submit a claim to its lender-placed insurer.                     Formatted                                       ... [641]
                                                                                                             Formatted                                       ... [642]
        128.    BNS told the Greenidges to submit an estimate and photos, and that it would process          Deleted: force
                                                                                                             Formatted                                       ... [643]
their claim.
                                                                                                             Deleted: ¶                                      ... [644]
        129.    When the Greenidges later inquired about the status of their claim, BNS assured the          Formatted                                       ... [645]
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Greenidges that their claim was being processed. That statement was false, as there was no insurance         Formatted                                       ... [647]
                                                                                                             Deleted: Greenidge’s
covering the property.                                                                                       Formatted                                       ... [648]
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        130.    The Greenidges cannot afford to repair the damage to their home without the
                                                                                                             Formatted                                       ... [650]
insurance proceeds.                                                                                          Deleted: Scotiabank
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                                       CLASS ALLEGATIONS                                                     Deleted: Scotiabank
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        131.    Plaintiffs bring this action against BNS pursuant to Rule 23 of the Federal Rules of Civil
                                                                                                             Deleted: ¶                                      ... [653]
Procedure on behalf of themselves and the following classes:                                                 Formatted                                       ... [654]
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        132.    Class. All persons with residential home mortgage loans owned by BNS or serviced             Formatted                                       ... [655]
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by BNS-PR on property in the U.S. Virgin Islands who were charged for lender-placed insurance
                                                                                                             Formatted                                       ... [657]
coverage for the period including August 1, 2017 and thereafter.                                             Deleted:
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        133.    Subclass. All persons with residential home mortgage loans owned by BNS or                   Deleted: ¶                                      ... [659]
                                                                                                             Formatted                                       ... [660]
serviced by BNS-PR on property in the U.S. Virgin Islands who were charged for lender-placed                 Deleted:
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insurance coverage for the period including August 1, 0017 and thereafter, and who made claims for
                                                                                                             Deleted: ¶                                      ... [662]
property damage caused by Hurricanes Irma and Maria under BNS’ lender-placed insurance policy.               Formatted                                       ... [663]
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        134.    Plaintiffs reserve the right to modify or amend the definitions of the proposed classes      Formatted                                       ... [664]
                                                                                                             Deleted:
before the court determines whether certification is appropriate.                                            Formatted                                       ... [665]
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        135.    BNS subjected Plaintiffs and the class members to the same unfair, unlawful, and
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Plaintiffs’ Second Amended Complaint                                                                             Formatted                ... [698]
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                                 Deleted: Class Action
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deceptive practices and harmed them in the same manner.                                                          Deleted: ; 18
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         136.       Numerosity. The proposed class is so numerous that joinder of all members would be
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impracticable. BNS sells hundreds of mortgage loans in the Virgin Islands. The individual class members are      Formatted                ... [702]
                                                                                                                 Deleted: Page 17
ascertainable, as the names and addresses of all class members can be identified in the business records         Deleted:

maintained by BNS and BNS-PR. There are more than 100 putative class members, and it would be impractical        Formatted                ... [706]
                                                                                                                 Deleted: ¶               ... [707]
for each member to bring suit individually. Plaintiffs do not anticipate any difficulties in the management of   Formatted                ... [708]
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the class action.
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         137.       Commonality. There are questions of law and fact that are common to Plaintiffs’ and          Deleted: ¶               ... [711]
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class members’ claims. These common questions predominate over any questions that go particularly                Deleted: Scotiabank
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to any individual member of the class. Among such common questions of law and fact are the
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following:
                                                                                                                 Deleted: ¶               ... [715]
                    a.     Whether BNS or BNS-PR has a reinsurance or other financial obligation with            Formatted                ... [716]
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                           respect to the payment of lender-placed claims;                                       Formatted                ... [717]
                                                                                                                 Deleted: ¶               ... [718]
                    b.     Whether BNS’s and/or BNS-PR’s policies and practices of refusing to file
                                                                                                                 Formatted                ... [719]
                           claims on behalf of borrowers charged for lender-placed insurance violates            Deleted: Scotiabank. ¶   ... [720]
                                                                                                                 Formatted                ... [721]
                           the standard mortgage agreement;                                                      Deleted: ¶               ... [722]
                                                                                                                 Formatted                ... [723]
                    c.     Whether BNS and/or BNS-PR violated RESPA by charging Plaintiffs and                   Deleted:
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                           class members for lender-placed insurance that does not provide coverage
                                                                                                                 Deleted: ¶               ... [725]
                           for their properties;                                                                 Formatted                ... [726]
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                    d.     Whether BNS and/or BNS-PR breached the implied covenant of good faith                 Formatted                ... [727]
                                                                                                                 Deleted: ¶               ... [728]
                           and fair dealing by failing to file Plaintiffs’ and the class members’ claims for     Formatted                ... [729]
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                           damage to their homes;
                                                                                                                 Formatted                ... [731]
                    e.     Whether BNS and/or BNS-PR violated the Virgin Islands Consumer                        Deleted: ¶               ... [732]
                                                                                                                 Formatted                ... [733]
                           Protection Act (“VICPA”) by charging Plaintiffs premiums for insurance and            Deleted:
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Plaintiffs’ Second Amended Complaint                                                                             Deleted: First
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                         then failing to obtain the insurance for which it accepted premiums;                    Formatted                 ... [772]
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                f.       Whether the conduct of BNS and/or BNS-PR was willful, wanton,
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                         fraudulent, an malicious so as to justify an award of punitive damages;                 Formatted                 ... [774]
                                                                                                                 Formatted                 ... [776]
                g.       Whether BNS and/or BNS-PR made negligent misrepresentations to                          Formatted                 ... [777]
                                                                                                                 Formatted                 ... [775]
                         Plaintiffs regarding the availability of coverage in the aftermath of Hurricanes        Deleted: Page 18

                         Irma and Maria;

                h.       Whether BNS and/or BNS-PR made negligent misrepresentations to                          Deleted: ¶                ... [782]
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                         Plaintiffs regarding the availability of coverage in the aftermath of Hurricanes        Deleted:
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                         Irma and Maria;
                                                                                                                 Formatted                 ... [784]
                i.       Whether BNS and/or BNS-PR converted property of Plaintiffs by taking                    Formatted                 ... [781]
                                                                                                                 Deleted: ¶                ... [785]
                         premiums from Plaintiffs for lender-placed insurance and then not providing             Formatted                 ... [786]
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                         the insurance;                                                                          Formatted                 ... [788]
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                j.       Whether BNS and/or BNS-PR was unjustly enriched by Plaintiffs’ payments
                                                                                                                 Formatted                 ... [789]
                         of premiums for lender-placed insurance when it did not use the premiums                Deleted:
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                         to purchase the insurance; and                                                          Deleted: ¶                ... [791]
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                k.       Whether BNS and/or BNS-PR was negligent in its failure to obtain the
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                         lender-placed insurance for which it required Plaintiffs to pay premiums.
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        138.    Typicality. Plaintiffs are members of the class they seek to represent. Plaintiffs’ claims are   Deleted: ¶                ... [796]
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typical of the class members’ claims because of the similarity, uniformity, and common purpose of BNS’ and
                                                                                                                 Deleted: ¶                ... [798]
BNS-PR’s unlawful conduct. Each class member has sustained, and will continue to sustain, damages in the         Formatted                 ... [799]
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same manner as Plaintiffs as a result of BNS’s wrongful conduct.                                                 Formatted                 ... [800]
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        139.    Adequacy of Representation. Plaintiffs are adequate representatives of the classes
                                                                                                                 Formatted                 ... [801]
they seek to represent and will fairly and adequately protect the interests of those classes. Plaintiffs are     Deleted: ¶
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committed to the vigorous prosecution of this action and have retained competent counsel,                        Formatted                 ... [778]
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experienced in litigation of this nature, to represent them. There is no hostility between Plaintiffs and          Deleted: ; 18
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the unnamed class members. Plaintiffs anticipate no difficulty in the management of this litigation as
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a class action.                                                                                                    Formatted                                    ... [807]
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         140.     To prosecute this case, Plaintiffs have chosen the undersigned law firms, experienced in class   Deleted: ¶
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action litigation and have the financial and legal resources, to litigate this case.
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         141.     Predominance. The questions of law or fact common to Plaintiffs’ and each class                  Formatted                                    ... [812]
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member’s claims predominate over any questions of law or fact affecting only individual members of                 Formatted                                    ... [813]
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the class. All claims by Plaintiffs and the unnamed class members are based on BNS’s blanket policy                Formatted                                    ... [814]
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and practice of refusing to process or adjust lender-placed claims and on BNS’s unnecessary charges
                                                                                                                   Formatted                                    ... [815]
for a master insurance policy that does not even cover its own interest in its collateral.                         Deleted: 93. ➝
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         142.     Common issues predominate where, as here, liability can be determined on a class-wide basis,     Deleted: firm, which is ¶
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even when there will be some individualized damage determinations.
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         143.     Superiority. A class action is superior to individual actions in part because of the non-        Formatted                                    ... [818]
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exhaustive factors listed below:                                                                                   Formatted                                    ... [819]
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                  a.       The interests of justice will be well served by resolving the common disputes
                                                                                                                   Formatted                                  ... [820]
                           of potential class members in one forum;                                                Deleted: E. Requirements of Fed. R. Civ. P.... [821]
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                  b.       Individual suits may not be cost-effective or economically maintainable as              Deleted: ¶
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                           individual actions; and
                                                                                                                   Deleted: ¶

                  c.       The action is manageable as a class action.                                             Formatted                                    ... [824]
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                                                  COUNT I                                                          Formatted                                    ... [825]
                                             Violation of RESPA                                                    Deleted: ¶                                   ... [826]
                                       (as to both BNS and BNS-PR)                                                 Formatted                                    ... [827]
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         144.     Plaintiffs repeat and reallege paragraphs 1–143, above.
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         145.     Beginning August 1, 2017, BNS and BNS-PR began imposing costs for lender-placed                  Deleted: ¶
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insurance on Plaintiffs and class members without providing the insurance for which it charged                     Deleted: Scotiabank’s
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Plaintiffs’ Second Amended Complaint                                                                     Formatted               ... [867]
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Plaintiffs and class members.                                                                            Deleted: ; 18
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        146.    The Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2605(m), provides
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that all charges related to lender-placed insurance imposed on the borrower by or through the servicer   Formatted               ... [871]
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shall be bona fide and reasonable.                                                                       Formatted               ... [875]
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        147.    BNS’ and BNS-PR’s charges to Plaintiffs and class members for lender-placed              Deleted: ,
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insurance were neither bona fide nor reasonable in that no insurance coverage was obtained or
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provided in exchange for the charges.                                                                    Deleted: force
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        148.    As a result of BNS’ and BNS-PR’s violation of RESPA, Plaintiffs and class members        Deleted: ¶              ... [880]
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have suffered actual damages, including mental and emotional distress, and statutory damages in the      Deleted: ¶              ... [882]
                                                                                                         Formatted               ... [883]
amount of $2,000 for each class member per violation made by each defendant.
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        149.    Pursuant to 12 U.S.C. § 2605(f)(3), Plaintiffs and class members are entitled to their   Formatted               ... [885]
                                                                                                         Deleted: plaintiffs
reasonable attorneys’ fees and costs incurred in connection with this action.                            Formatted               ... [886]
                                                                                                         Deleted: force
                                              COUNT II
                                                                                                         Formatted               ... [887]
                                           Breach of Contract
                                    (as to both BNS and BNS-PR)                                          Deleted: ¶              ... [888]
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        150.    Plaintiffs repeat and reallege paragraphs 1–149, above.                                  Deleted: ¶              ... [890]
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        151.    BNS agreed to obtain lender-placed insurance covering Plaintiffs’ and class members’     Deleted: ¶              ... [892]
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properties in exchange for premiums paid by Plaintiffs and class members and agreed to use the
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insurance proceeds to either repair Plaintiffs’ and class members’ homes or to pay down their            Formatted               ... [894]
                                                                                                         Deleted: plaintiffs
mortgages.                                                                                               Formatted               ... [895]
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        152.    BNS-PR agreed to obtain lender-placed insurance covering Plaintiffs’ and class           Formatted               ... [896]
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members’ properties by requiring Plaintiffs and Class members to make and accepting said payments.
                                                                                                         Formatted               ... [898]
        153.    Plaintiffs and class members paid premiums to BNS and BNS-PR for the lender-             Deleted: ¶              ... [899]
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placed insurance and otherwise performed their contractual obligations.                                  Deleted: .
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        154.    BNS and BNS-PR breached their contracts with Plaintiffs and class members by failing            Deleted: ¶
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to enroll Plaintiffs’ and class members’ properties under their lender-placed insurance policy beginning   Deleted: ; 18
                                                                                                           Formatted                                   ... [934]
August 1, 2017 and by failing to repair Plaintiffs’ and class members’ homes or pay down their
                                                                                                           Formatted                                   ... [936]
mortgage.                                                                                                  Formatted                                   ... [935]
                                                                                                           Deleted: Page 21
        155.    As a result of BNS’ and BNS-PR’s breach of contract, Plaintiffs and class members          Deleted: plaintiffs’ ¶                      ... [940]
                                                                                                           Deleted: its force
received nothing in return for their payment of premiums and each Plaintiff’s and class member’s           Formatted                                   ... [939]
                                                                                                           Formatted                                   ... [941]
property was not covered by insurance when Hurricanes Irma and Maria struck the Virgin Islands in
                                                                                                           Formatted                                   ... [942]
September 2017.                                                                                            Deleted: ¶                                  ... [943]
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        156.    Plaintiffs and class members have suffered damages, including cost of repairs to their     Deleted: plaintiffs’
                                                                                                           Formatted                                   ... [945]
property, the loss of use of their property, delay damages, and the amount paid in premiums for            Deleted:
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illusory insurance coverage.
                                                                                                           Deleted: ¶                                  ... [947]
                                           COUNT III                                                       Formatted                                   ... [948]
                    Breach of the Implied Duty of Good Faith & Fair Dealing                                Deleted: Scotiabank’s
                                 (as to both BNS and BNS-PR)                                               Formatted                                   ... [949]
                                                                                                           Deleted: plaintiffs
        157.    Plaintiffs repeat and reallege paragraphs 1–156, above.
                                                                                                           Formatted                                   ... [950]
                                                                                                           Deleted: ¶                                  ... [951]
        158.    Every contract imposes upon each party a duty of good faith and fair dealing in its
                                                                                                           Deleted: plaintiff’s
performance and its enforcement.                                                                           Formatted                                   ... [952]
                                                                                                           Formatted                                   ... [953]
        159.    BNS and BNS-PR breached their duty of good faith and fair dealing by misleading            Deleted: ¶                                  ... [954]
                                                                                                           Formatted                                   ... [955]
Plaintiffs and class members as to the nature and extent of their insurance coverage after Hurricanes
                                                                                                           Deleted: ¶                                  ... [956]
Irma and Maria.                                                                                            Formatted                                   ... [957]
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        160.    In addition, BNS has breached the duty of good faith and fair dealing by refusing to       Formatted                                   ... [958]
                                                                                                           Deleted: ¶                                  ... [959]
ensure that Plaintiffs’ and class members’ claims were timely investigated and failing to timely assess    Formatted                                   ... [960]
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the loss to Plaintiffs’ and class members’ properties.
                                                                                                           Formatted                                   ... [961]
        161.    BNS and BNS-PR repeatedly provided Plaintiffs and class members with                       Deleted: the
                                                                                                           Formatted                                   ... [962]
misinformation regarding the status of their claims and the availability of coverage effective August 1,   Deleted: ¶                                  ... [963]
                                                                                                           Formatted                                   ... [964]
2017.                                                                                                      Deleted: ¶                                  ... [965]
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Plaintiffs’ Second Amended Complaint                                                                      Deleted: First
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        162.    BNS and BNS-PR also required Plaintiffs and class members to pay premiums for             3" + 6"
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lender-placed insurance and then failed to ensure that Plaintiffs’ and class members’ properties were     Formatted: Font: Garamond, 12 pt, Not Bold
                                                                                                          Formatted: Font: Garamond, 12 pt
continuously covered by BNS’s lender-placed insurance master policy. As a result, Plaintiffs’ and class
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members’ properties were not covered under BNS’s master policy as of August 1, 2017.                      Formatted: Font: Garamond, 12 pt, Not Italic
                                                                                                          Formatted: Font: Garamond, 12 pt, Not Italic
        163.    In addition, neither BNS nor BNS-PR disclosed to Plaintiffs or class members that it      Formatted: Header, Tab stops: Not at 3" + 6"
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failed to maintain lender-placed insurance coverage on August 1, 2017 when the ASIC Policy was

terminated, leaving Plaintiffs’ and class members’ properties without insurance coverage.
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        164.    Through the aforementioned conduct, BNS and BNS-PR have acted arbitrarily,
                                                                                                          Formatted: Font: Garamond
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capriciously, and in a manner inconsistent with the reasonable expectations of Plaintiffs and class       ¶
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members.
                                                                                                          Formatted: Font: Garamond
        165.    The failure of BNS and BNS-PR to obtain the insurance for which it charged Plaintiffs     Formatted: List Paragraph, Justified, Indent: Left: 0", First
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and class members and its deceptive practices in the wake of the Hurricanes defeat the underlying         + Aligned at: 0.56" + Indent at: 1.06"
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purpose of the contract between BNS and Plaintiffs and class members regarding lender-placed              Formatted: Font: Garamond
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insurance.
                                                                                                          Formatted: Font: Garamond

        166.    The conduct of BNS and BNS-PR was fraudulent, deceitful, or otherwise inconsistent        Deleted: ¶
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with the purpose of the agreement between the parties and the reasonable expectations of the parties.     Formatted: Font: Garamond
                                                                                                          Deleted:
                                              COUNT IV                                                    Formatted: Font: Garamond
                                     V.I. Consumer Protection Act                                         Deleted: ¶
                                    (as to both BNS and BNS-PR)                                           112.➝Scotiabank
                                                                                                          Formatted: Font: Garamond
        167.    Plaintiffs repeat and reallege paragraphs 1–166, above.                                   Deleted: plaintiffs
                                                                                                          Deleted: putative
        168.    The Virgin Islands Consumer Protection Act (“VICPA”), 12A V.I.C. § 331, prohibits
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a corporation from engaging in deceptive trade practices in connection with the sale of goods or          Formatted: Font: Garamond
                                                                                                          Deleted: ¶                                            ... [973]
services.                                                                                                 Formatted: Font: Garamond
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        169.    BNS and BNS-PR violated the VICPA by charging Plaintiffs and class members                Formatted: Font: Garamond
                                                                                                          Formatted: Font: Georgia
premiums for insurance that did not provide coverage for their homes and by falsely representing that
                                                                                                          Formatted: Footer, Tab stops: 3.73", Left


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Plaintiffs’ Second Amended Complaint                                                                       Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                           Deleted: Class Action
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Plaintiffs’ and class members’ properties were insured under BNS’ and BNS-PR’s lender-placed               Formatted: Font: Garamond, 12 pt, Not Bold
                                                                                                           Formatted: Font: Garamond, 12 pt, Not Bold
insurance policy.
                                                                                                           Deleted: ; 18
        170.    As a result of BNS’s and BNS-PR’s violations of the VICPA, Plaintiffs and class            Formatted: Font: Garamond, 12 pt
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members have suffered compensatory, consequential, and equitable damages.                                  Formatted: Header, Tab stops: Not at 3" + 6"
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        171.    BNS’s and BNS-PR’s violations of the VICPA were willful, wanton, fraudulent and            Deleted: plaintiffs’ homes
                                                                                                           Formatted: Font: Garamond
malicious, justifying an award of punitive damages. Plaintiffs and class members are also entitled to
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treble damages under the VICPA.                                                                            Formatted                                      ... [977]
                                                                                                           Deleted: ¶                                     ... [978]
                                              COUNT V                                                      Formatted: Font: Garamond
                                           Unjust Enrichment                                               Deleted: Scotiabank’s violation
                                    (as to both BNS and BNS-PR)
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        172.    Plaintiffs repeat and realleage paragraphs 1-171, above.                                   Deleted: plaintiffs
                                                                                                           Formatted: Font: Garamond
        173.    BNS and BNS-PR were enriched by Plaintiffs’ and class members’ payment of                  Deleted: the
                                                                                                           Formatted                                      ... [979]
premiums for lender-placed insurance.                                                                      Deleted: ¶                                     ... [980]
                                                                                                           Formatted                                      ... [981]
        174.    Additionally, BNS and BNS-PR were enriched by mortgage payments made by
                                                                                                           Deleted: ¶                                     ... [982]
Plaintiffs and class members after the Hurricanes because Plaintiffs’ properties were not covered by       Formatted: Font: Garamond
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lender-placed insurance and, therefore, coverage did not exist for Plaintiffs’ and class members’ claims   Formatted: Font: Garamond
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of property damage in connection with the Hurricanes.                                                      Formatted: Font: Garamond
                                                                                                           Deleted: ¶                                     ... [983]
        175.    BNS’ and BNS-PR’s enrichment came at the expense of Plaintiffs and class members.
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        176.    BNS and BNS-PR had appreciation or knowledge of the benefit they received through          Deleted:
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Plaintiffs’ and class members’ payment of premiums for lender-placed insurance. Furthermore, BNS           Deleted: the
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and BNS-PR had appreciation or knowledge of their failure to procure insurance for Plaintiffs’ and
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                                                                                                           Formatted: Font: Garamond
class members’ properties effective August 1, 2017.
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        177.    The circumstances were such that in equity or good conscience BNS and BNS-PR

should return premiums to Plaintiffs and Class members.
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Plaintiffs’ Second Amended Complaint                                                                       Deleted: First
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                                            COUNT VI                                                       Formatted: Font: Garamond, 12 pt, Not Bold
                                    Negligent Misrepresentation                                            Deleted: ; 18
                                          (as to BNS only)
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        178.    Plaintiffs repeat and reallege paragraphs 1–177, above.
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        179.    BNS supplied Plaintiffs and class members with false information in several ways,          Formatted: Header, Tab stops: Not at 3" + 6"
                                                                                                           Deleted: Page 24
including: 1) directing Plaintiffs and class members to provide damage estimates in the wake of

Hurricanes Irma and Maria and advising that BNS would forward the estimates to its insurer when

lender-placed insurance was not available for the properties; 2) repeatedly making false representations

to Plaintiffs and class members advising that they were insured and assuring Plaintiffs and class

members that their claims were being processed when, in fact, Plaintiffs’ properties were not insured;

3) sending the January 30, 2018 form letter to Plaintiffs and class members providing misinformation

regarding the coverage available at the time of the hurricanes; and 4) sending Plaintiffs and class

members the February 21, 2018 letter which fails to disclose the lack of available lender-placed

coverage.

        180.    The misrepresentations made by BNS were supplied in the course of BNS’s business.

        181.    BNS failed to exercise reasonable care or competence in making the false

representations to Plaintiffs and class members.

        182.    Plaintiffs and class members justifiably relied upon BNS’s multiple and repeated

misrepresentations regarding the acquisition of lender-placed insurance coverage. Plaintiffs and class

members were justified in this reliance because BNS is in the business of issuing mortgages and is

responsible for acquiring lender-placed insurance on properties when it collects premiums for same

from its borrowers.

        183.    Based on their justifiable reliance, Plaintiffs and class members 1) continued making
                                                                                                           Formatted: Font: Georgia
mortgage payments on the properties under the false but justified belief that BNS had acquired
                                                                                                           Formatted: Footer, Tab stops: 3.73", Left


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Plaintiffs’ Second Amended Complaint                                                                         Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                             Deleted: Class Action
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insurance on the properties; 2) refrained from attempting to take ameliorative action to repair damage       3" + 6"
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to their homes until learning what would be covered by insurance; and 3) continued to pay premiums           Formatted: Font: Garamond, 12 pt, Not Bold
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for lender-placed insurance under the false but justified belief that BNS had purchased the insurance
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it was contractually obligated to purchase.                                                                  Formatted: Font: Garamond, 12 pt, Not Italic
                                                                                                             Formatted: Font: Garamond, 12 pt, Not Italic
        184.    Plaintiffs and class members have suffered pecuniary loss as a result of their justifiable   Formatted: Header, Tab stops: Not at 3" + 6"
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reliance upon the misrepresentations of BNS.

                                             COUNT VII
                                      Fraudulent Misrepresentation
                                           (as to BNS only)

        185.    Plaintiffs repeat and reallege paragraphs 1–184, above.

        186.    BNS made several misrepresentations of fact to Plaintiffs and class members,

including the following:

                a.      Directing Plaintiffs and class members to provide damage estimates in the

                        wake of Hurricanes Irma and Maria and advising that it would forward the

                        estimates to its insurer when lender-placed coverage was not available for the

                        properties;

                b.      Repeatedly making false representations to its borrowers that they were

                        insured and assuring the borrowers that their claims were being processed

                        when, in fact, Plaintiffs’ and class members’ properties were not insured;

                c.      Sending the January 30, 2018 form letter to its borrowers providing

                        misinformation regarding the coverage available at the time of the hurricanes;

                        and

                d.      Sending to borrowers the February 21, 2018 letter which fails to disclose the

                        lack of available lender-placed coverage.
                                                                                                             Formatted: Font: Georgia
        187.    At the time that BNS made its several misrepresentations of fact, BNS knew or had
                                                                                                             Formatted: Footer, Tab stops: 3.73", Left


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Plaintiffs’ Second Amended Complaint                                                                         Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                             Deleted: Class Action
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reason to know its misrepresentations of fact were false.                                                    3" + 6"
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        188.    BNS made its fraudulent misrepresentations with the intention of inducing Plaintiffs         Formatted: Font: Garamond, 12 pt, Not Bold
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and class members to act or refrain from acting on it by: 1) continuing to make mortgage payments
                                                                                                             Formatted: Font: Garamond, 12 pt

under the false but justified belief that BNS had acquired insurance on the properties; 2) refraining        Formatted: Font: Garamond, 12 pt, Not Italic
                                                                                                             Formatted: Font: Garamond, 12 pt, Not Italic
from attempting to take ameliorative action to repair damage to their homes until learning what would        Formatted: Header, Tab stops: Not at 3" + 6"
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be covered by insurance; and 3) continuing to pay premiums for lender-placed insurance under the

false but justified belief that BNS had purchased the insurance it was contractually obligated to

purchase.

        189.    Plaintiffs and class members have suffered pecuniary loss as a result of their justifiable

reliance upon the misrepresentations of BNS.

                                             COUNT VIII
                                              Conversion
                                    (as to both BNS and BNS-PR)

        190.    Plaintiffs repeat and reallege paragraphs 1–189, above.

        191.    By collecting premiums for lender-placed insurance without using said premiums to

purchase the required insurance, BNS and BNS-PR have intentionally exercised dominion or control

over money belonging to Plaintiffs and class members in a manner that so seriously interferes with

the right of Plaintiffs and class members to control said money that BNS should be required to pay

Plaintiffs and class members the full value of the premiums for lender-placed insurance with interest

beginning on the date that Plaintiffs’ property was converted.

        192.    Additionally, BNS and BNS-PR have continued to require Plaintiffs and class

members to make mortgage payments when the insurance that BNS failed to obtain was to be used

to either satisfy Plaintiffs’ and class members’ debts or repair the property. As such, BNS and BNS-

PR have converted Plaintiffs’ and class members’ money through their collection of mortgage
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payments and lender-placed insurance premiums in a manner that so seriously interferes with
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Plaintiffs’ Second Amended Complaint                                                                     Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                         Deleted: Class Action
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Plaintiffs’ and class members’ right to control the money that BNS and BNS-PR should be required         3" + 6"
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to pay Plaintiffs and class members the full value of all mortgage payments made by Plaintiffs and       Formatted: Font: Garamond, 12 pt, Not Bold
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class members from August 1, 2017 through the present with interest beginning on the date that
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Plaintiffs’ property was converted.                                                                      Formatted: Font: Garamond, 12 pt, Not Italic
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                                              COUNT IX                                                   Formatted: Header, Tab stops: Not at 3" + 6"
                                          General Negligence                                             Deleted: Page 27
                                    (as to both BNS and BNS-PR)

        193.    Plaintiffs repeat and reallege paragraphs 1–192, above.

        194.    BNS and BNS-PR owed Plaintiffs and class members the duty of the utmost good

faith, honesty, and equity upon accepting the premiums for lender-placed insurance. In addition, BNS

and BNS-PR owed Plaintiffs and class members a duty to use the premiums collected for lender-

placed insurance to purchase lender-placed insurance. BNS and BNS-PR also owed Plaintiffs and

class members a duty to refrain from misrepresenting the nature and amount of insurance purchased

by BNS and BNS-PR and to refrain from misrepresenting the available coverage for Plaintiffs’ and

class members’ properties.

        195.    BNS and BNS-PR breached those duties by:

                a.      Failing to procure lender-placed insurance for Plaintiffs’ and class members’

                        properties effective August 1, 2017; and

                b.      Failing to disclose to Plaintiffs and class members that BNS and BNS-PR had

                        failed to procure lender-placed insurance for Plaintiffs’ properties effective

                        August 1, 2017.

        196.    As a direct and proximate result of BNS’ and BNS-PR’s conduct, Plaintiffs and class

members have suffered damages for which BNS and BNS-PR are liable.


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Plaintiffs’ Second Amended Complaint                                                                 Deleted: First
Belardo et al. v. Bank of Nova Scotia, 2018-CV-8                                                     Deleted: Class Action
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        WHEREFORE, Plaintiffs, on behalf of themselves and all class members similarly situated,     3" + 6"
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seek a judgment in their favor against BNS and BNS-PR, awarding statutory damages, actual damages,   Formatted: Font: Garamond, 12 pt, Not Bold
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punitive damages, treble damages, attorneys’ fees, and costs.
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                                                                                                     Formatted: Font: Garamond
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                                                                                                     Formatted: Font: Garamond
                                                   ________________________________
                                                   Korey A. Nelson (V.I. Bar No. 2012)               Deleted: ¶
                                                                                                     ¶
                                                   BURNS CHAREST LLP
                                                   365 Canal Street, Suite 1170                      Formatted: Font: Garamond, Not Bold
                                                   New Orleans, LA 70130                             Formatted: Font: Garamond
                                                   Telephone: (504) 799-2845                         Formatted: Normal, Indent: First line: 0.5", Line spacing:
                                                   Facsimile: (504) 881-1765                         Double
                                                   knelson@burnscharest.com                          Formatted: Font: Garamond
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                                                   Vincent Colianni, II (V.I. Bar No. 768)           Deleted: ¶
                                                   Vincent A. Colianni (V.I. bar No. 13)             ¶
                                                   COLIANNI & COLIANNI                               Formatted: Font: Garamond
                                                   1138 King Street                                  Deleted: attorney’s
                                                   Christiansted, VI 00820                           Formatted: Font: Garamond
                                                   Telephone: (340) 719-1766
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                                                   Facsimile: (340) 719-1770
                                                   mailbox@colianni.com                              Formatted: Normal, Left, Line spacing: Double
                                                                                                     Deleted: ¶
                                                                                                     ¶
                                                                                                     ¶
                                                   J. Russell B. Pate, Esq. (V.I. Bar No. 1124)      ¶
                                                   THE PATE LAW FIRM                                 DATED: April 27, 2018                               ... [987]
                                                   P.O. Box 890
                                                   St. Thomas, USVI 00804
                                                   Telephone: (340) 777-7283
                                                   Facsimile: (888) 889-1132
                                                   pate@sunlawvi.com




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